IN THE CIRCUIT COURT FOR HAMILTON COUNTY, TENNESSEE

TOMMY LEE DAVIDSON, Individually _ )
and as Trustee of the Tommy L. )
Davidson Retirement Plan and ) CO PY
DAVIDSON HEALTH SERVICES, ) 24
LLC., _ ) . e C
Plaintiff, ) YK oe
) DocketNo.: 16C591 “4% P|
V. ) Cc £ Oo
) Division: IV \@ & 2
MARY ANGELA SHUSTER AND ) S P,. 3 CA
AMERICAN NATIONAL INSURANCE _ ) \ ‘2 ‘oO
COMPANY ) \ g-
Defendant. ) “ :

SUMMONS

TO DEFENDANT: _ American National Insurance Company c/o Jerry G. Bozeman
WHOSE ADDRESS IS: One Moody Plaza, 1 Moody Ave, Galveston, TX 77550

You are summoned and required to Answer and make defense to a Complaint herewith served upon
you. Your Answer to the Complaint must be filed and served upon plaintiff's attorney on or before thirty (30)
days after service of this Summons and Complaint upon you, exclusive of the day of service. Your Answer
must be filed in the OFFICE OF THE CIRCUIT COURT CLERK, Hamilton County, Chattanooga, Tennessee.
You are also required to serve a copy of your Answer upon the plaintiffs attorney, or the pro se plaintiff as set

out below. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

Complaint.
IssuED this “A day of Ape 20 17.

LARRY L. HENRY, HAMILTON COUNTY
CIRCUIT COURT CLERK

(\. AL

 

 

 

 

 

 

 

 

By:
DEPUTY CLERK

Buddy B. Presley, Jr. 013921 NOTICE TO DEFENDANT(S)
PlaintifP Attorney BPR# Tennessee Code Annotated § 26-2-103 provides a $4,000.00
ani « personal property exemption from execution or seizure to
or Plaintiff if no attorney (pro se) satisfy a judgment. If a judgment should be entered against
Presley Law Firm you in this action and you wish to claim property as exempt,
Address you must file a written list, under oath, of a a you wish
F to claim as exempt with the Circuit Court Clerk. The list may
1384 Gunbarrel Road, Suite B be filed at any time and may be changed by you thereafter as
Chattanooga, TN 37421 necessary; however unless it is filed before the judgment
becomes final, it will not be effective as to any execution or
(423) 826-1800 (423) 826-1837 garnishment issued prior to the filing of the list. Certain items
Tel. No Fax No are automatically exempt by law and do not need to be listed;
. . . these include items of necessary wearing apparel (clothing)
for yourself and your family and trunks or other receptacles
necessary to contain such apparel, family portraits, the family
. ib ogl books. Should these items be seized

Case 1:19-cv-00150-CHS Document 1-1 Filed OoHidike tPagacdabd nonPagella tn.

understand your exemption right or how to exercise it, you

 
 

 

 

 

I received this summons on

L} served this summons and a complaint on defendant,

in the following manner:

SUMMONS RETURN

. I certify and return that on
(Date) (Date)

 

(Printed Name of Defendant)

 

 

 

] failed to serve this summons within thirty (30) days after its issuance because:

 

 

 

 

Process Server Name (Printed) Process Server Signature

 

Address

 

 

 

 

 

[Form 114, Rev 2002.01.15]

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 2o0f15 PagelD#: 7

 

 

 
IN THE CIRCUIT COURT FOR HAMILTON COUNTY, TENNESSEE

TOMMY LEE DAVIDSON, Individually
and as Trustee of the Tommy L.
Davidson Retirement Plan and
DAVIDSON HEALTH SERVICES,

LLC, 0, & ®, So
Plaintiff, - Y Zz,
Cy -O on
vs by “BA
Division: IV Ge 4, Q 4
MARY ANGELA SHUSTER AND \
AMERICAN NATIONAL INSURANCE \ Ee.

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) Docket No.: 16C591 \ Se,
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COMPANY )
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Defendant.

 

SECOND AMENDED COMPLAINT TO INTERPRET FINAL JUDGMENT, FOR
DECLARATORY JUDGMENT AND TO RECOVER FUNDS PAID IN ERROR

 

Tommy Lee Davidson, Individually and as Trustee of the Tommy L. Davidson
Retirement Plan, and Davidson Health Services, LLC (collectively referred to hereinafter as
"Plaintiffs") hereby amends and restates their cause of action against Mary Angela Shuster ("Ms.
Shuster") and American National Insurance Company (““ANICO”) as follows:

THE PARTIES

1. Tommy Lee Davidson ("Mr. Davidson") is a resident of Hamilton County,
Tennessee and is the sole trustee of the Tommy L. Davidson Retirement Plan (the "Plan").

2. Davidson Health Services, LLC is a Tennessee limited liability company with its
principal office in Hamilton County, Tennessee.

3. Ms. Shuster is a resident of Georgia.

4. American National Insurance Company is national insurance company with
headquarters in San Antonio, Texas and offices and agents in Tennessee.

JURISDICTION

4, This case arises out of the interpretation of an order of the Circuit Court for
Hamilton County, Tennessee in which Mr. Davidson and Ms. Shuster participated as litigants.

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 3o0f15 PagelD#: 8
=

5. Mr. Davidson and Ms. Shuster entered into a Marital Dissolution Agreement
("MDA") on January 28, 2015 pursuant to divorce proceeding in which they agreed that
jurisdiction over any interpretation of the MDA would be exclusively with a court of competent
jurisdiction in Tennessee.

FACTS OF THE CASE

6. Mr. Davidson and Ms. Shuster, formerly husband and wife, were divorced by an
order and judgment entered in the Circuit Court for Hamilton County, Tennessee, being the case
of Mary Angela Shuster v. Tommy Lee Davidson, docket number 11 D 1161, that order was
entered on January 29, 2015. Reference is made to the minutes of this Court for a more specific
recitation of the matters contained in the record of the case.

7. One of the items of property that was the subject of the division of assets provided
for in the MDA incorporated into the final judgment of divorce and included by reference as if
made a part of the order of this court in the divorce case was the accumulated funds in a 412{e)
retirernent plan (formerly called a 412(4) plan under the Internal Revenue Code) named the
Tommy L. Davidson Retirement Plan (hereinafter referred to as the "Plan").

8. Subsequent to the entry of the final judgment of divorce, a qualified domestic
relations order (" QDRO") entered on May 6, 2015, the subject of which QDRO was the division
of the accumulated benefits in the Plan of which Mr. Davidson is the sole trustee.

9. The Plan is a type of defined benefit plan called a 412(e) retirement plan, it is
administered by American National Insurance Company ("ANICO"), the Plan is sponsored by
Davidson Health Services, LLC, and it is in the form of a trust of which Mr. Davidson is the
trustee.

10. The account is held as a single asset in trust and is not administered as separate
accounts for each beneficiary.

11. Prior to a distribution pursuant to the QDRO, there were two participants in the
Pian, Mr. Davidson and Ms. Shuster.

12. Ms. Shuster’s participation in the Plan had terminated on December 31, 2013.

13. As a trustee-directed 412(e) plan, the accounts in the Plan were not segregated per

participant; the identification number assigned to the Plan by ANICO is P7364.

14. The monetary contributions to the Plan, made annually by September 15, were
held in an annuity contract issued by ANICO bearing number GUF0069 designed to pay a
defined benefit to the Plan participants upon the attainment of age 65 years and a minimum of 5
years participation.

i5. Asadefined benefit plan, the Plan differs from a 401 (k), one of which differences
being; the absence of an immediately ascertainable cash value of the participants’ plan benefits.

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 4of15 PagelD#: 9
i6. Although the amount of the contributions to the Plan can be readily ascertained,
the amount of the participant distribution is based upon the Present Value of Accrued Benefits at
plan- year end of the year of distribution.

17. Annual statements are sent to each participant that reflect accrued benefits but not
a present value of the participant's interest in the Plan.

18. The factors used in the calculation of present value include Normal Retirement
Age, mortality and interest rates.

19. Thus, the present vaine distribution amount is not calculated until there is a
“distribution event,” and the present vaiue of a participant's account is not typically calculated
until such an event.

20. Counsel for Ms. Shuster sent a letter to ANICO advising as to how to interpret the
distribution to Ms. Shuster based upon his reading of the QDRO. (See Konvilinka Letter dated
June 25, 2015 Attached hereto as Exhibit “A”).

21. This Konvalinka Letter was purportedly signed “agreed and accepted” by Phil
Lawrence counsel for Mr. Davidson.

22. Mr. Lawrence advised Mr. Konvalinka that he did not authorize or sign the letter.

23. Tn any event, ANICO was under a contractual obligation pursuant to the Plan
Administration to properly account for and distribute the assets of the Plan according to the
provisions of the Plan and the QDRO.

24. | ANICO accepted an interpretation of the plan according to the Konvalinka Letter
and distributed the assets to Ms. Shuster in two part, (1) being a $1,000,000 distribution and (2) a
distribution of $81,198.75 as a separate plan benefit based upon life expectancy of Ms. Shuster
being designated her own plan benefit since the time of her termination of employment.

25. The QDRO was interpreted by ANICO to require two distributions - the first, a
QDRO of$1,000,000 plus interest from January 28, 2015, in the amount of $18,223.27the date of
the execution of the MDA, to the date of distribution and the second, Ms. Shuster's participant
termination distribution in the amount of $81,198.75.

26. The distribution to Ms. Shuster in this case included her participant termination
distribution balance as of September 15, 2015 in the amount of$81, 198.75 in addition to an
amount of} 1,000,000 plus interest on that amount of $18,223.27 under the QDRO, a total
distribution to her in the amount of$1,099,422.02.

27. Ms. Shuster elected a direct rollover of her Plan distributions to her IRA at UBS
Financial Services, Inc.

28. | The MDA in this case provided that Ms. Shuster was to receive from "Tommy's
American National Ins. Company 412i # GUF00699" the value of "$1,000,000 as of the date of |
/28/15 plus or minus any interest or losses until the date of distribution to be divided pursuant to
a ODRO ." (See, Exhibit “B” - Wife's Assets and Liabilities, p. 12 of the Marital Dissolution
Agreement executed on January 28, 2015).

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 5of15 PagelD #: 10
29. The MDA further provided that Mr. Davidson was to receive from the same asset
described in the immediately preceding paragraph "The remaining balance after Wife receives
her share as defined in Exhibit B." (See, Exhibit “C” - Husband's Assets and Liabilities, p. 15 of
the Marital Dissolution Agreement executed on January 28, 2015).

30. A QDRO entered in this case on May 6, 2015 that was submitted to ANICO
provided in part as follows:

Mary Angela Shuster is entitled to receive a benefit which is equal to One Million
Dollars ($1,000,000.00) as of January 28, 2015 plus or minus any interest or
losses until the date of distribution to Mary Angela Shuster, which shall satisfy
any benefit she was entitled to as a participant. (Emphasis added).

31. Statements received by Mr. Davidson of the status of the Plan that reflected that a
distribution had been made to Ms. Shuster in the amount of$ | ,018,223.27 consisting of the
principal distribution of $1,000,000 plus the gains on her share of the Plan from and after
January 28, 2015 and in the amount of $81,198.75 consisting of her participant balance.

32. The clear language of the QDRO and the MDA make plain the interpretation that
the $1,000,000 payment to Ms. Shuster satisfies her claim to any share of the Plan, and Ms.
Shuster has been unjustly enriched by accepting and by retaining the additional funds
representing her participant distribution.

33. On January 12, 2016, Mr. Davidson's attorney wrote a letter to Ms. Shuster’ s
attorney to see if an agreement could be reached, a copy of which letter is appended to the
original complaint and is incorporated herein by reference, but no offer to reach an agreement on
the issue has been made by Ms. Shuster.

COUNT I AS TO ALL DEFENDANTS
DECLARATORY JUDGMENT

The allegations of Paragraphs | through 33 are adopted and incorporated by reference:

34. Davidson request the Court construe the provisions of the MDA and the QDRO to
provide that Shuster was entitled to a TOTAL of $1,000,000 from the Plan plus or minus interest
during the period after the Order and before the distribution.

35. Davidson farther requests the Court to find an declare this action as a Motion under
Rule 60.02 as valid and justiciable to settle matters between the party defendants.

COUNT II AS TO ANICO
BREACH OF CONTRACT

The allegations of Paragraphs 1 through 33 are adopted and incorporated by reference:

36. Davidson request the Court to find that ANICO breached its contractual provisions

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 6of15 PagelD#: 11
as the under the Plan and annuity contracts to lawfully pay over such benefits as are due such
beneficiaries pursuant to such Plan provisions including provisions concerning payments pursuant
to such QDROs.

COUNT II AS TO SHUSTER
ALTER OR AMEND JUDGMENT PURSUANT TO T.R.C.P. 60.02

The allegations of Paragraphs | through 33 are adopted and incorporated by reference:

37. Davidson request the Court to find that its action to interpret and enforce the
provisions of the Plan and QDRO are lawfully enforced pursuant to Davidson’s filing of this matter
on May 6, 2016 within a year of the QDRO dated May 6, 2015 and such should be construed and
treated as a Motion to ALTER or AMEND JUDGMENT pursuant to T.R.C.P. 60.02.

WHEREFORE, Plaintiffs demand judgment that:

a. The Court declare the rights and obligations of the parties to this case pursuant to
Tenn. Code Ann. § 29-14-102 et seq.;

b. Mr. Davidson, individually or as trustee of the Plan, have and recover of Ms.
Shuster the payments erroneously received by her and wrongfully retained by her as a
distribution from the Plan;

C. Mr. Davidson, in his capacity as trustee of the Plan recover from ANICO such
amounts as wrongfully distributed to Ms. Shuster

d. In the alternative, the Court enter a qualified domestic relations order transferring
from Ms. Shuster's account the sums wrongfully transferred to her account plus the gains on the
funds wrongfully transferred from the date of the transfer; and

€. The Court determine that Plaintiffs’ filing is property filed and treated as a
Motion to T.R.C.P. 60.02.

f. Plaintiffs have such other and further relief to which they may be entitled and that
the justice and equity of this case may require.

PRESLEY LAW FIRM

Buddy B bas: Jr. “ion
Terrance Jones BPR#034823
1384 Gunbarrel Road, Suite B
Chattanooga, TN 3742

(423) 826-1800 — phone

(423) 826-1837 — facsimile

bpresley@presleylawfirm.com
Attorney for Plaintiffs

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 7 of 15 PagelD #: 12
CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing pleading has
been served upon adversary counsel listed via email and by deposit in the U.S. Mail with
sufficient postage thereon to ensure prompt delivery and via email to John Konvalinka
<jkonvalinka@gkhpc.com>.

John P, Konvalinka, Esq.

Attorney for Defendant Mary A. Shuster
Ninth Floor, Republic Building

633 Chestnut Street

Chattanooga, TN 37450

Respectfully submitted:
PRESLEY LAW FIRM

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By: y ) /

Buddy B. Présley, Jr., B 13921
Terrance Jories BPR# 034823
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bpresley@presleylawfirm.com
Attorney for Plaintiffs

 

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 8o0f15 PagelD #: 13
LAW OFFICES

Ninth Flooz, Republic Centre
633 Chestrait Street
Chattanooga, Tennessee 37450-0900

mt

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EXHIBIT

ee

 

Telephone 423/756-8200
Facsimile 423/756-6518
www.gkhpc.com

 

June 25, 2015

Cnelli Borger

Senior Plan Administrator

American National Insurance Company
Pension Administration

P.O, Box 10707 -

Springfield, MO 65805-0707

Re Mary Angela Shuster
P7384 Tommy L. Davidson Retirement Plan

een

Dear Ms. Borger:

In response to your inquiry concerning the interpretation of sub paragraph 5(q) of the
Qualified Domestics Relations Order, a copy of which is enclosed, the intent of the order is to
designate Mary Angéla Shuster as the alternate payee a benefit which is equal to $1,000,000.00
as of January 28, 2015. On or after January 28, 2015 Ms. Shuster is 10 receive that benefit of
$1,000,000.00 together with any increase or decrease from January 28, 2015 until the date of
distribution of her designated benefit of $1,000,000.00. Proceeds are to be distributed to Ms.
Shuster as soon as processed by the plan administrator,

Sincerely, 4 ff

; Abin P. Konvalinka
/ Attorney for Mary Angela Shuster

The undersigned Philip C. Lawrente hereby joins in as the attorney for Tommy L.

Davidson and concurs in these statements made by the attomey for Mary Angela Shuster as to
ihe intent of the order,

(hey C

Phillip C Lawrence

 
        

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Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page9of15 PagelD#: 14
EXHIBIT B— WIFE’S ASSETS AND LIABILITIES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Asset and/or Liability Approximate Value
and/or Percentage
Allocated to Wife
1414 Meadowlark Lane 82,500
Chattanooga, TN 37421
Titled to Mary Angela Shuster only
200 Manufacturers Road #437 225,000
Chattanooga, TN 37401
1418 Meadowlark Lane 80,000
Chattanooga, TN 37421
Titled to Mary Angela Shuster only
320 Osborme Drive 105,000
Chattanooga, TN 37411
Titled to Mary Angela Shuster only
Amerimark Annuity RAR0006103 100%
Angie’s Regions Checking #1292 100%
Volvo C70 (titled to Angie) 100%
Mazda CX7 (titled to Angie) 100%
John Deere Gator 100%
Belk card #5671 100%
Catoosa County TRS #599710 100%
Angie’s UBS #CC0882302 (investment) 100%
Angie’s UBS #CC2613502 (SEP) 100%
Angie’s UBS #CC2138502 (Roth IRA) 100%

 

Tommy’s American National Ins. Company
4121 #GUF00699

1,000,000 as of the date

of 1/28/15 plus or minus
ny interest or losses
nn the date of
igtribution to be

divided pursuant to a

 

 

 

QDRO
Angie’s Attorney’s Fees and Expert Fees 100% |
Angie’s JC Bradford Account at time of 100%

Marriage (later became UBS account)

 

 

 

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Case 1:19-cv-00150-CHS Document 1-1 Filed 05/17/19 Page 100f15 PagelD #: 15

 
 

Hilton Head Timeshare 100%

SSB&T IRA 100% EXHIBIT

 

  
 

 

 

 

 

EXHIBIT C — Husband’s Assets and Liabilities

 

Assets and Liabilities Equity

 

7429 Royal Harbour Circle 534,373
Ooltewah, TN 37363

*Husband shall refinance the HELOC associated with the residence
out of Wife’s name and shall be responsible for said liability
Vacant Lot 61,000
3665 London Road
Eau Claire, Wisconsin

 

 

 

 

Tommy’s UBS #CC1100102 (SEP) 100%
Covenant Healthcare, LLC and 100% ownership of
Covenant Healthcare of Eau Claire, LP together d/b/a Dove entity and any/and all
Healthcare West liabilities associated
(Jess $200,000 for separate property interest) (Ex. 3A, Tab A) with said entity as of
1/1/15

Transitions at Oakwood, LLC d/b/a 100% ownership of
Dove Healthcare South (Ex. 3A, Tab B) entity and any/and all

liabilities associated
with said entity as of

 

1/1/15
Snowhill Healthcare, LLC and Snowhill Development, LLC together | 100% ownership of
d/b/a Wissota Health and Regional Vent Center (Ex. 3A, Tab C) entity and any/and all

liabilities associated
with said entity as of
1/1/15

Meadowlark Health Services, LLC and Pine View Healthcare, LLC | 100% ownership of
together d/b/a Orchard Hills Assisted Living Facility (Ex. 3B, Tab entity and any/and all

 

 

D) liabilities associated
with said entity as of
1/1/15

Wolftever Healthcare, LLC and Wolftever Holdings, LLC together 100% ownership of

d/b/a Rutledge Home Assisted Living (Ex. 3B, Tab E) entity and any/and all

liabilities associated
with said entity as of
1/1/15

 

 

 

 

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Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 110f15 PagelD #: 16
 

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Transitions Rehabilitation Services (Net Book Value
2914)

sat May 31,

60% ownership o
entity and any/and
liabilities associa’ —_—
“as said entity as
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Dove South Note Payable to Owner

100%

 

Davidson Health Services, LLC
Tommy is Managing Member

100% ownership of
entity and any/and all
liabilities associated
with said entity as of
W/V/S

 

 

 

 

Davidson Health Services, LLC Note Receivable from 2012 100%
Lakeview Healthcare 100%
Received from Davidson Health Services, LLC per 2012 Tax Return

(distribution) (Ex. 102 LD)

Lakeview Healthcare 190%
Received from Davidson Health Services, LLC per 2013 Tax Return

(distribution) Schedule K-1 for Lakeview

Angie’s Share of Distributions for 2011, 2012, and 2013 from 100%

Davidson Health Services (never received by her) (Exs. 64 and 102
1D. and 2013 Tax Returns))

 

Pineview Terrace, LLC
Angie has 99% ownership:
8716 Ooltewah-Georgetown Rd

100% ownership of
entity and any/and all

liabilities associated
with said entity as of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

V/1/15
Note Receivable to Tommy from Wissota 100%
Notes Repaid to Tommy Davidson since Trial 160%
PSG Checking #5995 100%
Joint FSG MM #2494 100%
FSG Golden Checking #8012 100%
FSG Insurance Trust #2573 100%
SunTrust Checking #4354 (rental acot) 100%
Athens Federal MM #7979 100%
RCU Savings #8400 100%
RCU Free Checking #4105 100%
Pineview Terrace FSG #1658 100%

 

 

44.

Case 1:19-cv-00150-CHS Document 1-1 Filed 05/17/19 Page 12 0f15 PagelD #: 17

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Tommy's UBS #CC0235602 (RMA) 100%
Tommy's Allianz Annuity #7053256 100%
Cash value
Tommiy’s John Hancock Annuity #0940 1G0%
Tommy's Washington Nationa! Insurance Company Retirement . 100%
Acct 2221
Tommy’s American National Ins. Company 4121 #GUFO0699 The remaining balance
after Wife receives her
share as defined in
Exhibit B
2012 and 2013 Retirement Plan Contributions {shown on Davidson 100%
Health 2012 and 2013 Retums, but unknown as to the Account
| deposited)
Tommy's Auto-Owners Insurance Annuity #4020 100%
Tommy’s OM Financial Life Insurance Company Annuity #6111 100% f
Honda Civic (titled to Tommy) 100% 1
—j
John Deere Tractor 100%
SeaDoo . 100%
VSTROM (motorcycle in Tommy’s name) 100%
BMW Motorcycle (purchased after Angie filed for divorce by 100%
Tommy)
Coin Collection (30 silver dollars) 100%
Tommy’s Home/Office/Cabin Contents 100%
Tommy’s Yamaha Motorcycle (purchased during pendency of 100%
divorce)
HSA SunTrast #3771 100%
SunTrust MM #4282 100%
SunTrust MM#4955 100%
Regions Lakeview Healthcare Investment Trust #3654 100%

 

 

 

 

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15.

Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 130f15 PagelD #: 18
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INTERNAL AUDIT
SERVICES

Case 1:19-cv-00150-CHS Document 1-1 Filed 05/17/19 Page 140f15 PagelD #: 19
 

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Case 1:19-cv-00150-CHS Document1-1 Filed 05/17/19 Page 150f15 PagelD #: 20
